    Case:
Missouri   4:16-cr-00258-HEA
         Lan' Enforcement's FreenetDoc. #: Now
                                    Attack 53-3 Public
                                                 Filed:Record
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!IY SUBREDD]Ts   POPULAR. ALL - RANDOM ] ASKREDOTT NEWS. FUNNY. TODAYILEARNED       PICS WORLDNEWS V]DEOS GAMING GIFS.tllqRE }S

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                 Missouri Law Enforcement's Freenet                        search                                                      s
   7             Attack Now Public Record (serr.Freenet)
                 subm tted 14 hours aqo i by wormnut
                                                                          this post was submitted on 20 Apr 2017
                   I just got back from a hearing jn a court               7 points (90% upvoted)
                   case involving Freenet. With the exception
                                                                         lsnonr,nr, https: / / redd. iL/ 66f(
                   of a few (3?) documents that are still
                   sealed, the govern ment's documentation
                   on the attack is now public record, as is                                               ll oasswo.a
                   the hearing itself. The transcript has not
                   yet been published, (it is expected to take            I         remember me reset password                    log in

                   two weeks) but I took notes.
                   The discussion thread from when a paper                                     Submit a new link
                   describing an earlier version of this attack
                   leaked due to a misconfigured Sharepoint                                Submit a new text post
                   instance is here.
                   With that in mind, as a matter of public              Freenet
                   record, I can confirm:                                                    1,401 readers
                       . In September 2011, Special                             -2 users here now
                         Investigator Wayne Becker with the              Freenet FAQ
                         Missouri ICAC Task Force started                Documentation
                         collecting publicly available keys of           Download
                         ch ild pornography. Initially the               created by encase                     a community for 6 years
                         investigation on ly considered top-             MODERATORS
                         level manifest blocks, but when they             worm nut
                         found that to be ineFFective they                                                     about moderat on team >
                         fetched the splitfile and considered
                         all blocks of the file. That has been                          discussions in r/Freenet                      x
                         expanded into an automated process
                                                                              1.1
                         which runs daily and scrapes keys
                         from Frost child porn boards. As of
                         the last time SI Becker checked,
                                                                          x\              Freenet 0.7.5 build 1478 is now
                                                                                          available.


                         there are 75k manifest blocks and
                         170 million split keys in this
                         database. They call these Files of
                         Interest.
                       . Startinq April 2012, law enforcement
                         has been running modified Freenet
                         nodes which connect to opennet.
                         Initially this was anywhere from 1 to
                         8 nodes, they logged all requests and
                         mserts they observed to CSVS, and
                         ran through most of 2014. Those logs
                                                                                                                              GOVERNIIENT
                         have been retained. This was with a                                                              3
                                                                                                                          g     EXHIBIT
                         patch developed by people at the
                                                                                                                          3
                         Un iversity of Massachusetts Amherst.




https://www.reddit.com/r/Freenet/comments/6610n3/missouri law enforcements freenet ... 412012017
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      . In winter 2014, the university
        resea rchers developed an improved
        version which only logs requests for
        blocks from Files of Interest. It can
        optionally, defau lting to disabled,
        forge DataNotFound results for FOI
        blocks. There aTe around 30 of these
        nodes running, and have been for
        two years now.
      . When the attack produces results
        which indicate, in the police's
        judgement, that a node is probably
        requesting child pornog raphy, they
        will fetch the file in question, verify
        its contents, and retain the file.
      . Dr. Brian Levine is part of the team
        that developed the improved attack.
        He made an analogy about
        distributing M&Ms among a room of
        people that went something like:
    One person starts with a bag of 100
    M&Ms, someone chooses 4 people to
    give them to, split roughly evenly
    between. Each of them do the same
    until each person has M&Ms. Someone
    receiving 25, if they know the starting
    M&M count and the number of people
    the person givinq them M&lv'ls is
    splitting their lY&Ms between, can
    evaluate the probability that the person
    giving lvl&tvls is the one holding the bag.
  Here an M&lvl is a request for a block, and
  the attack allows making a prediction as to
  whether the node that sent a request is
  requesting the entire file or just relaying
  requests. To do this it uses knowledge of
  the total size of the file in question from
  the collection of keys, and the peer count
  of the peer - shared by default. ("Shall we
  send our peers' locations to our peers?
  Doing so helps routing but gives some
  information away to a potential attacker."
  under Config > Core in advanced mode.) It
  compares the received request count to a
  model which assumes uniform request
  distribution. They ran simulations, and
  claim to have established a false positive
  -ate of 2o/o because they ran it against HTL
  16 requests and it gave a positive result
  2yo of the time. (Even though an HTL 16




https://www.reddit.com/r/Freeneticomments/66f0n3/missouri law enlorcements freenet ... 4120/2017
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  request indicates the node sending the
  request is never the originator given
  default settings.) I am not convinced this
  is a valid way to establish a false positive
  rate. These requests are one hop more
  difFuse, so they are not representative of
  the level of diffusion present in the actual
  requests they use it on. I'm not clear on
  the distribution of distances requests can
  be expected to have been probably routed
  for a given HTL; that would be relevant
  here.
      . Usinq this technique they have
        performed, either with a search
        warrant or with consent, over 50
        searches in the US and Canada.
  Here's a document I used as a source for
  some of this : Lf#av+ER€feffaH+arFative.
  EDIT: The government contacted the
  defense and asked that I please take down
  this document. I have done so. They have
  also asked that I not make further posts
  about this case until it is complete.
  (Search count from page 2 #73.) I
  redacted the section on speciflcs to the
  case out of respect for the defendant, but
  the broad strokes are:
     1. An "undercover Freenet node" routes
        requests from a node for blocks from
        an FOI, and logs them.
     2. Later analysis on logged requests
        suggests the peer in question was
        the orig inator.
     3. Through an IP geolocation check (for
        jurisdiction) and an ISP subpoena the
        police obtain a name and address.
     4. Police file for a warrant, telling the
        judge the "number and timing of the
        requests was sagnificant enough to
        indicate that the IP address was the
        apparent original requester of the
        file." It is my opinion that the
        warrant affidavit does not give
        enough information for a judge to
        independently assess the
        reasona bility of this conclusion.
     5. Knock knock.
  If people caTe I can go through and redact
  the things specific to the defendant more
  precisely; it was easier to draw two big



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  rectangles. (I might also be persuaded to
  bother to figure out how to redact PDFS
  properly, but for the time being I'm trying
  to get this posted quickly and
  imagemagick is easy.)
  The defense will move to unseal one of the
  documents. For those who have PACER
  access, the case number is
   4;L6-cr-258 cEJ (NAB) . Also itturns
  out some cars' black boxes record GPS
  location information.
 2 comments share

  all 2 comments
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     [ ] kyousaya4life 1 pornt t hours ago
     Is it still believed to have an 80+o/o False positive rate?
     permalink €mbed
        [-] nufra 2 points t hours ago
        we do not know yet.
        Their verification procedure for their algorithm was roughly: they searched 50 people turned up
        in the process and found that either
            . there was child porn OR
            . the owner said there might have been child porn OR
            . the owner had used encryption software so police could not completely rule out that there
               might have been child porn.
        That boils down to: "the computer they found requested child pornography because there was
        encryption software on it".
        ("in nearly ever case" ... "the user had encrypted files")
        Going by this, they could even have a 960lo false positive rate (if all but two only had encryption
        software).
         permalink embed parent




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